1           IN THE UNITED STATES DISTRICT COURT
2            FOR THE SOUTHERN DISTRICT OF TEXAS
3                    HOUSTON DIVISION
4
5    SECURITIES AND EXCHANGE )
     COMMISSION,             )
6                            )
         Plaintiff,          )
7                            )
     vs.                     ) Case No. 4:22-cv-3359
8                            )
     MAURICIO CHAVEZ,        )
9    GIORGIO BENVENUTO, and )
     CRYPTOFX, LLC,          )
10                           )
         Defendants.         )
11                           )
         and                 )
12                           )
     CBT GROUP, LLC,         )
13                           )
         Relief Defendant.   )
14   ________________________)
     ORAL VIDEOTAPED DEPOSITION
15                ORAL VIDEOTAPED DEPOSITION OF
16                  MR. JULIO E. TAFFINDER
17                    December 14, 2022
18       ORAL VIDEOTAPED DEPOSITION OF MR. JULIO E.
19   TAFFINDER, produced as a witness at the instance of
20   the Plaintiff and duly sworn, was taken in the
21   above-styled and numbered cause on the 14th day of
22   December, 2022, from 9:15 a.m. to 6:43 p.m., before
23   Michelle Hartman, Certified Shorthand Reporter in and
24   for the State of Texas and Registered Professional
25   Reporter, reported by computerized stenotype machine
                                                             1

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1             A.   Uh-huh.
2             Q.   -- can you explain what that string of
3    characters and numbers is?
4             A.   That's a BitCoin wallet, sir.
5             Q.   And whose BitCoin wallet is that?
6             A.   That's the child's wallet, the one that
7    was created temporarily to distribute back to the
8    student.
9             Q.   Who created that?
10            A.   That was one that I created that was --
11   it doesn't hold anything other than what Mauricio
12   sends.
13            Q.   Okay.   So if there was ever any BitCoin
14   going through this wallet ending in PGR --
15            A.   Uh-huh.
16            Q.   -- that came from Mauricio Chavez --
17            A.   Yes, sir.
18            Q.   -- at your request?
19            A.   From the student's request, sir.
20            Q.   But the student request didn't go
21   straight to Mauricio; is that right?
22            A.   No, sir.
23            Q.   They came through you to Mauricio?
24            A.   Through the customer service, and then
25   based on what the customer service info was gathered,
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1    then that amount is specifically stated in the
2    messages.
3            Q.   Okay.   Now, let's go down to the very
4    bottom entry on that first page of Exhibit 31.
5            A.   Uh-huh.
6            Q.   Do you see where it says, "Hi, Brother,
7    good morning.   For the BitCoin payment, can you send
8    me two Bits to continue to pay out folks?        We have
9    about 30 plus people awaiting payments."
10          A.    Yes, sir.
11          Q.    And this is 30 plus people awaiting
12   payments who have asked to be paid in BitCoin on CFX
13   contracts; is that right?
14          A.    Correct, sir.
15          Q.    Now, when you were talking earlier about
16   what being a student investor/contract holder at CFX
17   entitled you to, you talked about the classes, you
18   talked about the payments; is that right?
19          A.    Yes, sir.
20          Q.    Does it entitle you to anything else?
21          A.    I mean, if the -- there was an event
22   held, then they could go to the event, but just
23   mainly the classes and the streams.
24          Q.    Now, at some point, you know, people
25   started learning about this lawsuit, right?
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1            A.   Because as we roll it over, from there,
2    after April, then it turns into July.       So you can
3    take everything out or you could leave it in there,
4    and at that point it has to be a new contract from
5    what Mauricio says.
6            Q.   So that $23,000 payment is the only
7    payment you have received out of any contracts with
8    CFX?
9            A.   Yeah, that, and then this 67.        I mean,
10   that was rolled over to the 125.       So then on
11   October 15th, then that was the amount that was due.
12          Q.    Okay.    My question is:    The $23,000 that
13   you received, is that the only payment that you have
14   received from any contracts that you have had with
15   CFX?
16          A.    From the contract, yes, ma'am.
17          Q.    Okay.    And you also have received check
18   payments or the payments from CFX, right?
19          A.    Yes, ma'am.
20          Q.    Okay.    And we -- I know we discussed the
21   50,000 -- I'm sorry, the 100,000.
22          A.    100,000.
23          Q.    Right.    So there was two checks of
24   $50,000 to you and then two checks for $50,000 for
25   your sister, right?
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1             A.   Yes.   I know it was like 100,000, ma'am.
2             Q.   And then your sister received another
3    $37,500 check from CryptoFX.       Do you know what that
4    was for in October -- on October 10th, 2021?
5             A.   She received a $37,000 check from --
6             Q.   From CFX here.
7             A.   That was for initially Mauricio offered
8    to help with the medical bills for my family and
9    the -- the death.
10            Q.   I'm sorry?
11            A.   The death, the -- the funeral
12   arrangements.
13            Q.   You also received a $37,500 from CFX in
14   October -- the same date as your -- as your sister,
15   October 10th, 2021?
16            A.   Then yes, ma'am.
17            Q.   What -- yes what?
18            A.   The same, for the funeral arrangements,
19   ma'am.
20            Q.   Well, how much did the funeral cost?
21            A.   Times two.
22            Q.   And two what?
23            A.   We had two parents pass, ma'am.
24            Q.   Right.
25            A.   So it was each, one for each, ma'am.
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1    So --
2             Q.   So all of this -- all of this money,
3    though, $37,500, both of those checks went towards
4    paying for the funeral --
5             A.   Yes, ma'am.
6             Q.   -- of your parents?
7                  Which funeral company did you and your
8    sister use for your parents?
9             A.   Dignity.
10            Q.   What did Mauricio pay for the funeral
11   bills?
12            A.   That's what he offered, ma'am.
13            Q.   And then there is another check to you in
14   August of 2021 for $12,000.     What was that?
15            A.   That was my dad's salary.
16            Q.   Salary?    That CFX owed?
17            A.   Yes, ma'am.
18            Q.   To your dad?
19            A.   Yes.
20            Q.   Did you deposit these checks?
21            A.   Of course, ma'am.
22            Q.   What account did you deposit them in?
23            A.   JPMorgan Chase account.
24            Q.   CFX records show that you were paid
25   $3,000 a week and not $5,000 every two weeks.    Does
                                                               351

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1    that sound correct?
2            A.   No, ma'am.    I was paid 5,000.
3            Q.   5,000 every two weeks?
4            A.   Yes, ma'am.
5            Q.   Was this -- do you know how much your
6    father was paid?
7            A.   No, I do not, ma'am.
8            Q.   I am going to show you another document,
9    I just want to understand what this is.
10                      (Exhibit 44 marked)
11          Q.    (BY MS. THEMELI)     Exhibit 44, and this is
12   another record from CFX -- from CFX documents.     Do
13   you see your name here?
14          A.    I do, ma'am.
15          Q.    Okay.   Actually, if you turn to the third
16   page, is that document -- it's a signed copy?     And it
17   says there, "CFX Lifestyle "Pagos recividos."
18                What does that mean?
19          A.    Payments received.
20          Q.    Okay.   And you see your name there, Julio
21   Eduardo Taffinder?
22          A.    Yes, ma'am.
23          Q.    And in that table where it says
24   "Description," and then under that you have "Julio
25   Eduardo Taffinder.    Quantity:   One.   Unit price:
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1    $146,000."   What is that for?
2            A.   I think that's referring to the -- the
3    checks that we just discussed.
4            Q.   Okay.   Well, let's go to the first page
5    of that document.    Who is Salvador Reyes?
6            A.   He's a leader from -- from Houston.
7            Q.   Okay.   And why would Salvador Reyes be
8    paid $160,000?
9            A.   I don't know, ma'am.     I don't know why
10   I'm on this page, to be honest.
11          Q.    Who do you think prepared this?     Who does
12   prepare this at CFX?
13          A.    I don't know, ma'am.
14          Q.    And then Giorgio -- and I assume this is
15   a typo there -- that should be Giorgio Benvenuto,
16   $200,000, right?
17          A.    (Nods).
18          Q.    Do you know why Giorgio Benvenuto would
19   be paid a $100,000 check?
20          A.    No, I don't know.
21          Q.    But you're saying that this $140,000 is
22   related to the checks you received?
23          A.    Yes, ma'am, I believe so.
24          Q.    Have you received -- other than those
25   checks and the $23,000 we discussed from the
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